              Case 2:11-cr-00096-DC Document 221 Filed 11/14/13 Page 1 of 2


1    Tim A. Pori (SBN 189270)
     John F. Baumgardner (SBN 275674)
2
     LAW OFFICES OF TIM A. PORI
3    521 Georgia Street
     Vallejo, CA 94590
4    Telephone: (707) 644-4004
5
     Facsimile: (707) 644-7528
     Attorney for Defendant ORLANDO FLETES-LOPEZ
6

7                           IN THE UNITED STATES DISTRICT COURT
8

9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,           )               No. 2: 11-CR-00096-JAM
                                         )
12                           Plaintiff,  )               STIPULATION AND
                                         )               ORDER CONTINUING SENTENCING
13
                       v.                )               FROM NOVEMBER 19, 2013, TO
14                                       )               JANUARY 21, 2013
     ORLANDO FLETES-LOPEZ,               )
15                                       )
                             Defendant.  )
16
                                         )
17   ____________________________________)

18          The parties request that the Judgment and Sentencing be continued from November 19,
19
     2013, at 9:45 a.m. to January 21, 2014, at 9:45 a.m. and due to defense counsel being in a felony
20
     jury trial in Contra Costa County Superior Court.
21

22                                                Respectfully submitted,

23   Date: November 14, 2013                      /s/ Tim A. Pori________________________
                                                  TIM A. PORI
24
                                                  Attorney for Defendant FLETES-LOPEZ
25

26   Date: November 14, 2013                      /s/ Paul Hemesath (Authorized on 11/14/13)
                                                  PAUL HEMESATH
27
                                                  Assistant U.S. Attorney
28

                                                         1
                 Case 2:11-cr-00096-DC Document 221 Filed 11/14/13 Page 2 of 2


1                                               ORDER
2
            IT IS HEREBY ORDERED that the parties’ stipulation and proposed stipulation to
3
     continue sentencing from November 21, 2013, at 9:45 a.m. to January 21, 2014, at 9:45 a.m. is
4

5
     approved.

6    Dated: 11/14/2013
                                                 /s/ John A. Mendez________________________
7                                                JOHN A. MENDEZ
8                                                UNITED STATES DISTRICT COURT JUDGE

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                       2
